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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                             PLAINTIFF/RESPONDENT

 v.                                   No. 2:10-CR-20057

 NHAN VAN NGUYEN                                                      DEFENDANT/PETITIONER

                                             ORDER

        The Court has received a report and recommendations (Doc. 325) from United States

 Magistrate Judge James R. Marschewski. No objections have been filed and the time to object has

 passed. The Magistrate Judge recommends that the Court deny Nguyen’s motion (Doc. 309) to

 reduce his sentence pursuant to Amendment 782 to the United States Sentencing Guidelines

 (U.S.S.G.) because Nguyen’s Guidelines offense level was determined using U.S.S.G. § 4B1.1

 rather than U.S.S.G. § 2D1.1, and Amendment 782 only reduced § 2D1.1 offense levels. The

 Magistrate Judge further recommends that Nguyen’s 28 U.S.C. § 2255 motion (Doc. 311) to vacate

 be denied and his petition be dismissed with prejudice. Nguyen’s § 2255 motion is premised on

 the Supreme Court’s holdings in Johnson v. United States, --U.S.--, 135 S.Ct. 2551 (2015) and

 Welch v. United States, --U.S.--, 136 S.Ct. 1257 (2016). Johnson and Welch held that 18 U.S.C.

 § 924(e)(2)(B)(ii)’s “residual clause” was unconstitutionally vague and made that substantive rule

 retroactive. Nguyen was neither charged nor convicted under 18 U.S.C. § 924, and instead cites

 Johnson and Welch to challenge a 2-level Guidelines enhancement he received pursuant to the

 specific offense characteristic in U.S.S.G. § 2D1.1(b)(1). Johnson and Welch do not apply in any

 way to Nguyen’s case. Although the report and recommendations does not raise the issue, the

 Court further finds that no reasonable jurist would debate whether the petition should be resolved

 in a different manner. Nguyen has not made a substantial showing of the denial of a constitutional



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 right, and no certificate of appealability shall issue.

         Upon due consideration, the Court concludes that the report and recommendations (Doc.

 325) should be, and hereby is, APPROVED AND ADOPTED IN ITS ENTIRETY.

         IT IS THEREFORE ORDERED that Nhan Van Nguyen’s motion to reduce his sentence

 (Doc. 309) is DENIED.

         IT IS FURTHER ORDERED that Nhan Van Nguyen’s motion to vacate his sentence (Doc.

 311) is DENIED and the petition in this case is DISMISSED WITH PREJUDICE. No certificate

 of appealability shall issue. Judgment will be entered accordingly.

         IT IS SO ORDERED this 28th day of December, 2016.


                                                                 /s/P. K. Holmes, III
                                                                 P.K. HOLMES, III
                                                                 CHIEF U.S. DISTRICT JUDGE




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